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                IN THE UNITED STATES DISTRICT COURT

                DISTRICT OF UTAH, NORTHERN DIVISION


UNITED STATES OF AMERICA,
                                               SEALED
                  Plaintiff,                   INDICTMENT

      vs.                                     VIOLS. 18 U.S.C. §1832, THEFT
                                              OF TRADE SECRETS;
JANICE KUANG CAPENER,                         18 U.S.C. §1343, WIRE FRAUD;
LUOJUN,                                       18 U.S.C. §1349, CONSPIRACY
SUNHILLS INTERNATIONAL, LLC,                  TO COMMIT WIRE FRAlJD.
and
ZHEJIANG HONGCHEN
IRRIGA TION EQUIPMENT CO.,
LTD.,                                          Case: 1:12-cr-00027
                                               Assigned To : Benson, Dee
                                               Assign. Date : 04/2512012
                  Defendants.                  Description: USA v.




      The Grand Jury Charges:

                                BACKGROUND
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      At all times relevant to this indictment:

1.    JANICE KUANG CAPENER was a citizen of the People's Republic of

China, and a lawful permanent resident of the United States. She had attended

college in Salt Lake City, Utah, and married an American citizen. She was fluent

in both English and Mandarin Chinese. CAPENER was employed by Orbit

Irrigation Products, Inc. of North Salt Lake, Utah from about June 16,2003 until

about November 15,2009. From about March 14,2005 until about May 13,2009,

when she was notified of her termination, CAPENER worked for Orbit running

the company's manufacturing plant in Ningbo, Zhejiang Province, China.

Thereafter, she was a paid consultant for the company until her termination was

finalized that November.

2.    LUO JUN was a citizen of the People's Republic of China and the chief

executive officer and owner of ZHEJIANG HONGCHEN IRRlGATION

EQUIPMENT CO., LTD., a manufacturer of irrigation equipment located in

Taizhou, Zhejiang Province, China.

3.    C. C., an individual whose full name is known to the Grand Jury, was a

Utah resident and acquaintance of CAPENER's who, beginning in about

November of 2009, provided sales and consulting services to CAPENER and

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SUNHILLS. He became National Sales Manager for SUNHILLSand CAPENER

from about May 15,2010 to about July of2010. C. C. was a co-conspirator in the

defendants' attempts to defraud Orbit until he voluntarily left the conspiracy in

July 2010.

4.    Orbit Irrigation Products, Inc., (Orbit) was a sprinkler and irrigation

company headquartered in North Salt Lake, Utah. It was in the business of

producing, marketing, and distributing sprinkler and irrigation products. It

marketed more than 2,000 products in more than 40 countries.

5.    SUNHILLS INTERNATIONAL, LLC (SUNHILLS) was a company

established by CAPENER in November of 2009 to sell sprinkler and irrigation

products in direct competition with Orbit, her former employer. Su}'THILLS was

incorporated in California on behalf of CAPENER by a person whose initials are

R. P., in order to hide CAPENER's involvement in the company from Orbit.

6.    ZHEJIANG HONGCHEN IRRIGATION EQUIPMENT CO., LTD.

(HONG CHEN) was a Chinese manufacturer of irrigation equipment that had a

contractual relationship with Orbit to manufacture some of Orbit's products

beginning in about 2005. From about July 2009, HONGCHEN took steps to

bypass Orbit and begin marketing products to U.S. retailers through CAPENER or

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SUNHILLS. HONGCHEN's parent company was Taizhou Dongfang Light

Decorations Co., LTD.

7.    Augusta Products, LLC, (Augusta) was a company formed by CAPENER in

Utah in April of 2009. CAPENER initially formed Augusta to compete with

Orbit, and used Augusta resources in furthering a scheme to defraud Orbit.

                             Trade Secret Information

8.    Over the course of its more than 40 years in business, Orbit has developed

information that it considers to be proprietary, and which it has taken steps to keep

secret from competitors and the public. Such information includes product

research and schematics, purchasing costs, customer lists, and pricing information.

At issue in this Indictment are the latter two categories: customer and pricing

information (collectively, the "Trade Secrets"). These Trade Secrets are valuable

in that they give Orbit a competitive advantage in the marketplace by allowing

Orbit to identify its top customers, and to negotiate favorable prices with suppliers

and customers.

9.    Orbit has invested a substantial amount of capital and employee hours in

developing the Trade Secrets. It stores this data on protected servers, which

require a user name and password to access. Access is typically granted only to

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employees and officers of the company. To access some particularly sensitive

Trade Secret data, higher-level clearance is required. As an employee of Orbit,

CAPENER was authorized to access some of the Trade Secret data for use in her

capacity as an employee and for purposes of furthering the interests of Orbit.

Orbit did not grant CAPENER access to some of the Trade Secret data.

10.   Orbit requires all employees to sign a document acknowledging that they

will abide by the policies in the Orbit Associate Manual, which includes a

Confidentiality section requiring the employee not to disseminate or disclose

confidential information to outside or unauthorized parties. CAPENER signed

such a document on December 13,2004. On May 2,2005, Capener signed an

additional agreement which further defined Orbit's proprietary information and

required her to protect this information and prevent others from using it. This

agreement also contained a "non-compete clause" prohibiting activity in conflict

with Orbit's business goals while an employee, and prohibiting competing with, or

working for a competitor of, Orbit for a period of 18 months following termination

of employment.

11.   During her employment with Orbit, CAPENER was placed in charge of

operations at an Orbit factory in Ningbo, Zhejiang Province, China. During the

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course of her work there, CAPENER seldom accessed the company's intranet,

stored on servers in the United States, to obtain sales or pricing data, although she

routinely accessed the intranet to obtain personnel information. However, on

about May 13, 2009, the day she was informed her employment would be

terminated, CAPENER accessed the Orbit intranet and downloaded substantial

amounts of sales and pricing information for her own use, and not for Orbit's

purposes.

                                  COUNTS 1-5
                     (18 U.S.C. §1832, Theft of Trade Secrets)

12.   The Grand Jury hereby incorporates and realleges paragraphs 1-11 above.

13.   On or about May 13,2009, in the Northern Division of the District of Utah

and elsewhere,

                           JANICE KUANG CAPENER,

defendant herein, with the intent to convert a trade secret that is related to and

included in a product that is produced for and placed in interstate and foreign

commerce, to the economic benefit of a person other than the owner thereof, and

intending and knowing that the offense will injure any owner of that trade secret,

knowingly, and without authorization, copied, duplicated, downloaded, uploaded,



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transmitted, communicated and conveyed such information, to wit: defendant

JANICE KUANG CAPENER without authorization, did copy, duplicate,

download, and upload information as described below from the secure company

databases of Orbit; which information was trade secret information as defined by

18 U.S.C. § 1839(3) relating to customers, pricing, and sales, of sprinkler and

irrigation products made for and placed in interstate and foreign commerce; with

the purpose that the information be used by herself, her companies, and others for

the benefit of herself, her companies, and others, and to the economic detriment of

Orbit;

 COUNT           TRADE SECRET INFORMATION
         1       "Orbit Level One Sales" report "Displaying Top 25 Accounts"
                 reflecting sales data from Orbit's 25 best customers for the years
                 2008 and 2009.
     2           Orbit master product list describing all of Orbit's products (as of
                 the date accessed) and information including quantity forecasts,
                 vendors names, and costs, among other information
     3           "Level One Sales Report" for Orbit customer Home Depot,
                 reflecting sales data for 2008 and 2009 (through May 11,2009)
     4           "Level One Sales Report" for Orbit customer Lowe's, reflecting
                 sales data for 2008 and 2009 (through May 11, 2009)
     5           "Level One Sales Report" for Orbit customer Target Corporation,
                 reflecting sales data for 2008 and 2009 (through May 11,2009)


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all in violation of 18 U.S.C. § 1832.

                                   COUNT 6
              (18 U.S.C. § 1349, Conspiracy to Commit Wire Fraud)

14.   The Grand Jury hereby incorporates and realleges paragraphs 1-11 above.

15.   Beginning on or about an exact date unknown to the Grand Jury, but not

later than about July 2009, and continuing to at least about July of2010, in the

Northern Division of the District of Utah and elsewhere,

                    JANICE KUANG CAPENER,
                            LUOJUN,
                SUNHILLS INTERNATIONAL, LLC, and
       ZHEJIANG HONGCHEN IRRlGATION EQUIPMENT CO., LTD.,

defendants herein, did combine, conspire, confederate and agree with each other

and with others known and unknown to commit the following offense:

having devised and intending to devise a scheme and artifice to defraud, and for

obtaining money and property by means of false and fraudulent pretenses, to wit:

the enrichment of the defendants, their associates, and related companies from the

sale of goods to customers of Orbit at prices well below Orbit's prices and set

using Orbit's illegally-possessed, proprietary pricing information, for the purpose

of executing such scheme and artifice did knowingly transmit and cause to be


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transmitted by means of wire communication in interstate commerce writings,

signs, signals and sounds:

      A. THE SCHEME AND ARTIFICE TO DEFRAUD

16.   The purpose of the scheme and artifice was to enrich the defendants and

related companies by producing, marketing and selling sprinkler and irrigation

products - in some instances, the exact products manufactured for Orbit - to

customers of Orbit at prices deliberately set to undercut Orbit's prices, using Trade

Secret information stolen from Orbit. It was part of the scheme and artifice to

defraud that:

                a.   The defendants established a company, SUNHILLS, to act as a

distribution and marketing operation for the scheme. Augusta also operated in this

capacity at times. HONGCHEN would "float" - provide upfront for free ­

irrigation and sprinkler products to SUNHILLS to market to U.S. retailers.

                b.   The defendants took steps to begin undermining Orbit's

position in the marketplace. Among those steps was an anonymous complaint to

Wal-Mart about conditions at Orbit's factory in Ningbo. Another step was for

HONG CHEN to raise Orbit's manufacturing costs, despite agreements to the


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contrary. Because of the dispute over the price increases, the defendants filed a

complaint with a state-run Chinese insurance company, resulting in a temporary

"blackballing" of Orbit among other Chinese manufacturers.

             c.      Manufacturing and cost information shared between Orbit and

HONGCHEN was used and shared among the conspirators by LUO JUN and

HONGCHEN in contravention of confidentiality agreements with Orbit. Such

information was used to set prices in marketing to Orbit's customers and begin

pricing Orbit out of the market.

             d.      Customer and pricing information, illegally possessed by

CAPENER as set forth in paragraph 12 above, was used in contravention of her

confidentiality agreement with Orbit, and was shared among co-conspirators as

part of their marketing efforts to U.S. retailers. The defendants used Orbit's

proprietary information to solicit business from Orbit's customers at prices below

what Orbit offered    sometimes marketing the exact same products that the

HONGCHEN factory manufactured for Orbit.

     B. THE USE OF WIRE COMMUNICATIONS FOR THE PURPOSE
OF EXECUTING THE SCHEME AND ARTIFICE TO DEFRAUD




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17.   Between about January of2010 and about July of2010, for the purpose of

executing the scheme and artifice described herein, the defendants transmitted and

caused to be transmitted by means of wire communication in interstate and foreign

commerce writings, signs, signals, and sounds including, but not limited to, the

following:

             a.    Emails between and among the defendants and others

establishing business relationships in order to further the scheme and artifice;

             b.    Emails between and among the defendants and others sharing

the proprietary cost, customer, and pricing information of Orbit;

             c.    Emails between and among the defendants and others arranging

to undercut Orbit's prices by marketing products to Orbit customers at

dramatically lower prices than Orbit's;

      all in violation of 18 U.S.C. § 1349.

                                  COUNTS 7-18
                          (18 U.S.C. §1343, Wire Fraud)

18.   The Grand Jury hereby incorporates and realleges paragraphs 1-11 and 15­

17 above.




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19.       On or about the dates set forth below, in the Northern Division of the

District of Utah and elsewhere,

                       JANICE KUANG CAPENER,
                               LUO JUN,
                   SUNHILLS INTERNATIONAL, INC., and
          ZHEJIANG HONGCHEN IRRIGATION EQUIPMENT CO., LTD.,

defendants herein, having devised and intending to devise a scheme and artifice to

defraud, and for obtaining money and property by means of false and fraudulent

pretenses, to wit: the enrichment of the defendants, their associates, and related

companies from the sale of goods to customers of Orbit at prices well below

Orbit's prices and devised using Orbit's illegally-possessed, proprietary pricing

information, for the purpose of executing such scheme and artifice did knowingly

transmit and cause to be transmitted by means of wire communication in interstate

commerce writings, signs, signals and sounds:

 COUNT iDATE                 WIRE COMMlJNICATION
               1119/2010     Email chain between CAPENER and C. C. in which the
      7        (latest in    parties discuss C. C.'s sales pitch to Home Depot and
               chain)        cite information obtained from Orbit's trade secret sales
                             and customer data.
               112112010     Email chain between C. C. and a Home Depot
               (latest in    purchasing representative in which the parties discuss


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8       chain)       C. C.' s sales pitch to Home Depot and cite information
                     obtained from Orbit's trade secret sales and customer
                     data.
        2/15/2010    Email chain between CAPENER and C. C. in which
9       (latest in   sales information from Orbit to Sear's and Ranch &
        chain)       Home Supplies is discussed, including discussion of
                     undercutting Orbit's prices
        4112/2010    Email chain between CAPENER and C. C., including
10      (latest in   an email from CAPENER to C. C. reporting that Orbit
        chain)       would be going to HONGCHEN to obtain new
                     products to sell to Lowe's
        4/21/2010    Email from CAPENER to C. C. discussing Wal-Mart's
11                   audit of Orbit's Ningbo factory and how it might be
                     exploited by the defendants
        5/4/2010     Email chain between CAPENER and C. C. discussing a
12      (latest in   sales pitch to Orchard Supply Hardware and the
        chain)       products Orbit ("the trading company") sells to Orchard
                     and the costs to Orbit of the products in question
        5119/2010    Email from CAPENER to C. C. discussing finalization
13                   of a sales presentation to Lowe's and the use of Orbit's
                     confidential purchasing-cost information and Orbit's
                     proprietary customer-pricing information to set the
                     prices for the defendant's presentation
        6/8/2010     Email from CAPENER to C. C. discussing the product
14                   "port-a-rain" and the purchasing costs and pricing of
                     Orbit for the same item
        6/25/2010    Email chain among CAPENER, C. C., and a third party
15      (latest in   discussing a mock-up of a product and the necessity of
        chain)       removing the name "Orbit" from the image


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                  6/28/2010    Email from CAPENER to C. C. discussing prices the
      16                       defendants can offer in comparison to those Orbit can
                               offer, and Orbit's confidential purchasing cost
                  7/6/2010     Email from CAPENER to C. C. discussing factory
      17                       certification of Orbit's factory by Lowe's, with Lowe's
                               audit report attached
                  7/27/2010   Email from HONGCHEN representative W. W. to a
      18                      Home Depot representative discussing LUO JUN's
                              plans to attend a line-review meeting, and soliciting
                              Home Depot's business

          all in violation of 18 U.S.C. §1343.

                                     A TRUE BILL:




DAVID B. BARLOW
United States Attorney
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A~Awl S.\LGGREN
Assistant dnited States Attorney




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